     Case 1:05-cr-00017-MP-GRJ             Document 484        Filed 08/10/10      Page 1 of 2


                                                                                              Page 1 of 2


                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                              CASE NO. 1:05-cr-00017-MP-AK

GREGORY J HALL,

        Defendant.

_____________________________/


                                               ORDER

        This matter is before the Court on Doc. 483, Defendant’s motion to vacate, set aside, or

correct sentence pursuant to 28 U.S.C. § 2255. The Court has reviewed the motion to vacate,

and pursuant to the Rules Governing § 2255 Proceedings, the Government will be required to

file an answer or other appropriate response. If appropriate, the Government shall include the

initial brief or other briefs from the direct appeal and may rely on the statement of facts

presented there. Defendant may respond to the Government's arguments within the time set by

this order, but he is not required to do so.

        Upon receipt of the Government's arguments and Defendant's response, if any, the Court

will review the file to determine whether an evidentiary hearing is required. If an evidentiary

hearing is not required, the Court will dispose of the motion as justice requires pursuant to

§ 2255 Rule 8(a).
     Case 1:05-cr-00017-MP-GRJ            Document 484        Filed 08/10/10      Page 2 of 2


                                                                                           Page 2 of 2


        Accordingly, it is

        ORDERED AND ADJUDGED:

        1. The Clerk shall furnish by certified mail, return receipt requested, a copy of this order
        and the motion to vacate to the United States Attorney for this district, who shall file an
        answer or other appropriate pleading by October 4, 2010;

        3. If review of the PSR is necessary, the Probation Office shall allow counsel for the
        Government to review the PSR upon request;

        4. Defendant shall have until November 3, 2010, to file a reply, if desired.


        DONE AND ORDERED this            10th day of August, 2010


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




Case No: 1:05-cr-00017-MP-AK
